            Case 4:20-cv-05063-RMP                   ECF No. 21          filed 11/04/20     PageID.105 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                         FILED IN THE
                                                                                                          U.S. DISTRICT COURT
                                                                  for the_                          EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
       MELANIE REISWIG and CRAIG REISWIG,
                                                                                                     Nov 04, 2020
                                                                                                          SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 4:20-CV-5063-RMP
     PROVIDENCE HEALTH & SERVICES OF                                 )
   WASHINGTON, d/b/a Providence St. Mary Medical                     )
   Center; WALLA WALLA CLINIC, INC, PS; et al.,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiffs' Complaint is dismissed with prejudice and without fees or costs as to Defendant Providence Health Services –
’
              Washington, d/b/a Providence St. Mary Medical Center.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge               Rosanna Malouf Peterson




Date: November 4, 2020                                                      CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Angela Noel
                                                                                          (By) Deputy Clerk

                                                                             Angela Noel
